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                                                                                             LINK: JS-6
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.          CV13-4428 GAF (MANx)                                           Date   June 13, 2014
 Title             NAZARETH HAYSBERT v. EQUIFAX INFORMATION SERVICES, LLC, et al.



 Present: The                       GARY ALLEN FEESS, United States District Judge
 Honorable
                Stephen Montes                                 None                                N/A
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                             None                                                     None


 Proceedings:                 (In Chambers)

         A Notice of Settlement was filed on April 29, 2014. (Docket #28)

       On May 1, 2014, the Court issued a text only entry (Docket #29) ordering the
parties to file a stipulation and proposed order dismissing the action on or before May 30,
2014 or, in the alternative a joint status report. On May 30, 2014, the parties filed their
Joint Settlement Status Statement wherein they stated that following the delivery of the
settlement check on June 2, 2104, the parties will promptly file a stipulated motion for
dismissal with prejudice.

       The text only entry specifically warned Plaintiff that the Court could dismiss this
action if good cause was not shown for any extension of time and no dismissal was filed.

      To date, however, no dismissal has been filed with this Court. Accordingly, the
Court hereby dismisses the action without prejudice for failure to respond to the Court’s
Order.

         IT IS SO ORDERED.

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                                                               Initials of Preparer             SMO




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